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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

VALVETECH, INC.,                                    :

                   Plaintiff,                       :
                                                         Case No. 6:17-cv-06788-FPG
        v.                                          :

AEROJET ROCKETDYNE, INC.,                           :

                   Defendant.                       :


       DEFENDANT AEROJET ROCKETDYNE, INC.’S NOTICE OF SUBMISSION OF
       VALVETECH’S OBJECTIONS TO AEROJET ROCKETDYNE’S DEPOSITION
               DESIGNATIONS PURSUANT TO LOCAL RULE 30(c)(4)

       PLEASE TAKE NOTICE that Defendant Aerojet Rocketdyne, Inc. (“Aerojet Rocketdyne”),

through the undersigned counsel, submits Plaintiff ValveTech, Inc.’s Objections to Aerojet Rocketdyne’s

Deposition Designations pursuant to Local Rule 30(c)(4). Aerojet Rocketdyne concurrently submits a true

and correct copy of ValveTech’s Objections to Aerojet Rocketdyne’s Deposition Designations.



Dated: October 6, 2023
                                                    By/s/ Michael B. Eisenberg
                                                      Michael B. Eisenberg
                                                      STEVENS & LEE
                                                      485 Madison Avenue, 20th Floor
                                                      New York, NY 10022
                                                      Telephone: (646) 254-6381
                                                      Email: michael.eisenberg@stevenslee.com

                                                        Attorney for Aerojet Rocketdyne, Inc.
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 For all exhibits listed in Defendant’s deposition designations, ValveTech reserves the right to
object to the admission of that exhibit for any reason at trial, whether or not ValveTech is
maintaining an objection to the associated deposition designation.
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B. Deposition of Jeffrey Pullano

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C. Deposition of Chad Mitchell

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    D. Deposition of Lisa Peterson 2

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  The page number and line provided by Aerojet apparently refer to the original, uncorrected
version of the Lisa Peterson transcript first provided by the court reporter.
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E. Deposition of Erin Mullally

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     164                 1-25                                LC
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